Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 1 of 27

                                                                                FILED b            ., -      D.C.
                    U N ITED STA T ES D ISTR IC T C O U R T FO R TH E              t
                                                                                   .$
                                                                                   .
                                                                                    !p.,v       8,
                                                                                                 71)J2
                                                                                                     '
                          SO U TH ER N D IST R IC T O F FLO R ID A               STE k
                                                                                     '/E?
                                                                                 CLER  K 1@ .4-AFII
                                                                                          .'
                                                                                           '
                                                                                                         M( .
                                                                                                            -.
                                                                                                             )
                                                                                                             'F?E
                                      M iam iD ivision                      j
                                                                            ,             U.6J.DIST. CT
                                                                                  S .D .of.FLwA    -   MI  AMI
                                                                                              w.2,âzvaz,r- .
                                                                                                           ;
                                                                                                           .k       ,

                    C ase N um ber:l1-20152-C1V -M TO N A G A -BR O W N



    G U STA V O A B ELLA ,pro-se

       Plaintiff,

   TO W N O F M IA M ILA K ES
   C O UN CILW O M AN N AN CY SIM O N ,lndividually
   and in hercapacity asElected Official
   M IA M lD A D E CO IJN TY
   OFFICER JUAN F.RODRIGUEZ)lndividually
   O FFIC ER B EN JA M IN R IV ERA Olndividually
   O FFICER R IC H A RD BA EZ,lndividually
   M A JOR FRM K BOCAN EGRA ,lndividually,and

        Defendants,



                           TH IR D A M E N D E D C O M PLA IN T

         The Plaintiff,pro-se,suesD efendants and alleges:


                            IN TRO DUCTORY STATEM EN T

         This is an action for dam ages sustained by Plaintiff G ustavo A bella against

   the Town of M iam i Lakes and Councilw om an Nancy Sim on in her individual

   capacity and as an elected ofticialofthe Tow n ofM iam iLakes, and againstM iam i
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 2 of 27




    Dade County,Florida,employee,Police OfficersRodriguez,Rivera,Baez,M ajor
    of the Police assigned to the Tow n of M iam i Lakes, Frank Bocanegra, in his

    individualcapacity as Tow n Com m ander.


          Councilwom an N ancy Sim on harassed,abused herpoweras elected official,

    m anipulated Law Enforcem ent Police O fficers against PlaintiF as retribution for

    Plaintiffs exercise ofhisFirstAm endmentrightto free speech w hen on Febrtlary

    2007 Plaintiff spoke against an issue on the A genda regarding an O rdinance on

    Signs,to be displayed on the sw ales ofthe rightofway in the streets ofthe Town

    of M iam i Lakes. Plaintiff had a sign in back his truck. The sign read

    tûc ouncilm em ber N ancy Sim on w ants to pollute M iam i Lakes w ith signf'.

    V endors w ho w ere in favor of this issue w ere the R ealtors that have com m ercial

    officesin the Town ofM iamiLakes. Also,Plaintiffswife fled on June 2007 with

    the Florida Depm mentofBusiness and ProfessionalRegulations (DBPR),Real
    Estate Section,selling properties aher her RealEstate License w as nulled and void

    on September2004 and N ancy Sim on w asfound guilty and w asfined forreceiving

    in the year2005 m ore than $28,000.00 in com m ission.

          Plaintiff also brings this law suit against D efendant N ancy Sim on for

    intentional infliction of em otional distress and m alicious prosecution. Plaintiff

    bringsthis suitagainstallthe Police Officersmentioned before including M ajor
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 3 of 27




    Frank Bocanegra, as Tow n Com m ander of the Police assigned to the Town of

    M iam iLakes,as the im m ediate supenisory officer responsible for the conduct,

    training and supervision ofpolice officersunderhischarge. DefendantBocanegra

    w as deliberately negligent to the com plaints that Plaintiff, his form er A ttorney

    Joseph G lick and Plaintiff s w ife brought to D efendant Bocanegra's attention.

    Defendant Bocanegra failed to properly trained police officers and to adequately

    discipline and supervise in regards to their propensity to com m it violation of civil

    rights,abuse ofpow er,retaliation,intim idation,harassm ent,and stalking,w ith the

    purposetocausehumiliation,embarrassment,injury to theirreputationsand health
    and suffered sham e,m entalanguish and hurtfeelings.


                                     K RISD ICTIO N

          1. This law suit states claim s that arise under the FirstAm endm entof the

    United States Constitution protected through 42 U .S.C.j 1983 and the law softhe

    State ofFlorida.

          2. Venue is placed in the United States DistrictCourt for the Southern

    D istrict of Florida because it is where a11 parties reside and where the events

    com plained ofoccurred.
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 4 of 27




                                            PAR TIES


          3. A talltim es m aterialhereto G U STA V O A BELLA w as and is a residentof

           I-DADE andatalltimesrelevanthereto suisjlzris.

          4. Defendant,M iami-Dade County (hereinafterELCOIJNTY'),is apolitical
    subdivision of the State of Florida, a Florida municipal corporation,and,at a1l

    tim es relevanthereto,item ployed D efendantOFFICER S and Town Com m ander

    ofthe Police in M iam iLakes.

               At a1l tim es relevant hereto and in a11 actions described here in,

    DefendantNancy Simon (hereinafterGtSlM ON'')wasactingaselected ofticial,and
    in such capacity as a public servant.

          6. A t all tim es relevant hereto and in a1I actions described herein,

    D efendant, O fticer Jt;M   F.R O D RIG U EZ, w as acting under color of law as a

    police om cer, and in such capacity, as the agent, servant and em ployee of

    D efendant,COUN TY .

               A t a11 tim es relevant hereto and in all actions described herein,

    D efendant, O fficer B EN JA M IN RIVER A , w as acting under color of law as a

    police officer, and in such capacity, as the agent, servant and em ployee of

    D efendant,C OU N TY .



                                                                                    4
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 5 of 27




          8. At all tim es relevant hereto and in a11 actions described herein,

    D efendant, O fticer R IC H AR D BM Z,w as acting under color of 1aw as a police

    officer, and in such capacity, as the agent, servant and em ployee of D efendant,

    C O UN TY .

          9. A t al1 tim es relevant hereto and in a1l actions described herein,

    Defendant,M AJOR FRANK BOCANEGRA (hereinafterûtBOCANEGRA'),was
    acting under color of law as the Tow n Com m ander of the Police in the Tow n of

    M iam i Lakes, and in such capacity, as the agent, servant and em ployee of

    D efendant,CO UN TY . BOCANEGRA w as the im m ediate supervisory officer

    responsible for the conduct,training and supervision of police officers under his

    charge.



                                        CO U N T I

              V IO LA TIO N O F C IV IL RIG H T S W H ILE A C TIN G U N D ER
                      TH E CO LOR O F LA W 42 U.S.C.1 1983
          A GA IN ST DFF:NDANT COUN CILM EM BER NAN CY SIM O N
          l0. Plaintiffreallegesparagraphs lthrough 9 above asiffully incop orated

    herein,furtheralleges:

          ll. A couple of days aher a Tow n M eeting on February 2007 w here

    Plaintiff spoke against an issue regarding posting com m ercial signs on the right of

    w ays in the streetsofthe Town ofM iam iLakes,Plaintiffwasstopped by a Police
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 6 of 27




    O fficerand asked to rem ove a sign thathe had displayed on the back ofhispick up

    that read K'COUN CILM EM BER NAN CY SIM ON W AN TS TO POLLU TE

    >      1LAKES W ITH SIGN S''. W hen the Police Officer was asked who gave

    him the order to ask Plaintiff to rem ove the sign he stated that he did not

    rem em ber. Police threaten in front oftw o otherPolice officers thatif Plaintiff did

    notrem ove the sign he w ould be given a citation. Plaintifftold the Police Officer

    thathe was not going to rem ove the sign. W hen Plaintiff requested thru Public

    Recordswho gave the orderto remove sign,nobody knew regarding thatsubject.
    Elected Officials in the Tow n of M iam iLakes cannot give a directorder to any

    Police Officerorany employee ofthe Town ofM iamiLakes. They have to direct

    their requests thru the Tow n M anager. SIM O N 'S actions w ere undertaken as

    retaliation forPlaintifFsexercise ofhisFirstAm endmentrightto free speech.

          12e O n D ecem ber 21St7 20077in the evening, Plaintiff w as served w ith a

    Temporary lnjunction for Protection. The lnjunction stated thatABELLA shall
    notgo to,in,orw ithin 500 feetofSIM ON 'S residence,TO W N HA LL,PUBLIX ,

    located at 67 A ve.'
                       N W l54 St.;CV S PH            C Y ,located in the sam e shopping

    center as PU BLIX ;M ARATH ON GA S STATION,located at l50 N W AN D 61

    A ve., and CH EV RO N G A S STA TIO N , located w ithin 250 feet from Plaintiff's

    Condo A partm ent. The com m ercial stores m entioned before are located in the 4

    different entrances to the Tow n of M iam i Lakes. Plaintiff w as restrained from
                                                                                        6
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 7 of 27




    buying his groceriesfrom the superm arketwhere he hasalwaysshopped. Plaintiff

    w asprohibited from getting his daughter's m edication from CV S,and from buying

    fuelatthe gasthatisjustacrosshis condo apartment. None ofthese businesses
    authorized SIM ON to prohibitthe entrance of Plaintiff to their stores. SIM ON

    knew thatPlaintiff's w ife does not drive and depends on her husband to m obilize

    in and outoftheTown fortheirerrands.



          W H ER EFOR E,Plaintiffrespectfully requestthatthisCourtdeclare thatthe

    actions of the D efendant, as alleged herein w ere taken under color of law ,

    constitute an abuse ofherauthority and a violation ofPlaintiffs civilrightsunder

    42 U.S.C.1983,and award ABELLA a1lavailable damages and relie: and a11

    othermonetary andequitablereliefavailableasthisHonorableCourtdeemsjust.


                                       C O U N T 11
            V IO LA T IO N O F C IV IL R IG H T S W H ILE A C T IN G U N D E R
                        TH E CO LOR O F LAW 42 U.S.C.4 1983
            A GA INST D EFENDANT O FFIC ER JUA N F.RO DR IG UEZ

          13. Plaintiffrepeats and reallegesparagraphs 1-9 and further alleges:

          l4. On February 2007,Officer Juan F Rodriguez stopped Plaintiffoutside

    his m inor daughter's school stating Qtthat he received orders to ask Plaintiff to

    rem ove the sign Plaintiffhad in the back ofhispick up.
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 8 of 27




          W H EREFOR E,Plaintiffrespectfully requestthatthisCourtdeclarethatthe

    actions of the D efendant, as alleged herein w ere taken under color of law ,

    constitute an abuse ofhisauthority,and a violation ofPlaintiY scivilrightsunder

    42 U .S.C. 1983,and aw ard ABELLA all available dam ages and relief, and all

    othermonetary and equitablereliefavailable asthisHonorableCourtdeemsjust.


                                      CO UNT III

       A BU SE O F PO W ER .H A R A SSM EN T .IN TIM ID A TIO N .STA LK IN G
                   A GA IN ST O FFICER JUA N F.RO DRIG UEZ

          l5. Plaintiffrealleges paragraphs 1 through 9 above as iffully incorporated

    herein,further alleges:

          l6. On this sam e date, April 16,2007,Plaintiffs w ife sent an em ail to

    R obertParker,D irector of the M iam i D ade Police D epartm ent com plaining about

    O fficer Juan Rodriguez's attitude and behavior and the conflict of interest that

    there was due to thatOfficerRodriguez is the Com m unity Officer,he is in every

    Tow n M eeting where Plaintiff and his w ife used to voice their opinion and who

    aRer a couple of days Officer Juan Rodriguez w ill com e after them harassing,

    stalking and intim idating forvoicing theiropinionsin the m eetings and because of



                                                                                        8
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 9 of 27




    the sign Plaintiff had in back ofthis pick up tnzck againstCotm cilm em berN ancy

    Sim on.

          17. This is the sam e date that Plaintiff w ent along w ith his w ife to the

    M iam iDade lnternalAffairstrying to initiate an investigation asto the attitude and

    behavior displayed by O fficer Juan R odriguez w hile using the Police U niform ,

    being arm ed and using a police vehicle.

          l8. PlaintifFs w ife complaint ended up being a ttcontact report'' at the

    M iam iD ade lnternalA ffairsD epartm ent.

          l9 O n January 24th and 3lStof 2008, Officer Juan Rodriguez went as a
              .




    w itness of Councilm em berN ancy Sim on in her C ourtH earings for the Perm anent

    lnjunction forProtedion againstPlaintiff. OfticerJuan Rodriguez wentwith lies
    and when he wasasked who gave him the orderto rem ove the sign Plaintiffhad in

    histruck he statedthathe did notrem em ber.
          20  .   O n June 3rd and 4*, 2008, o m cer Juan R odhguez appeared in the

    vicinity where the Plaintiffreside. ln the m ornings ofJune 3rd and 4+, as soon   as

    Plaintiff w as pulling outof the Condom inium com plex to the m ain road on N W

    154 IM IAM ILAKES DR.),OfficerJuan Rodriguezwas dliving nextto Plaintiff
    displaying his sarcasm ,m aking signs with his hands while driving the patrolcar

    and being in the police uniform .


                                                                                      9
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 10 of 27




                  CM June 5th, 2008, Plaintiff w rote a Com plaint Letter to Tow n

    Com m ander Frank Bocanegra againstO fficer Juan R odriguez. C opy of thatletter

    wentto ourformerAttorney,Joseph Glick,also toM ajorDonald Rifkin atlnternal
    A ffairs,and also to the Tow n M ayor and Tow n M anager of the Tow n of M iam i

    Lakes. Plaintiff requested an investigation also a copy of the conclusions and

    reportthatthe Tow n M anager had asked Com m ander Frank Bocanegra on April

    2007 regarding the attitude and behaviorofOfficerJuan Rodriguez. N o response

    w asreceived from any ofthe people before m entioned. Copy Attached asExhibit

    çCG 'R

             22. On August 20th,2008 around 8:15 a m .,while PlaintiF w as driving to
                                                    .




    drop offhis daughter,OfficerJuan Rodriguez showed up and w asdriving parallel

    to Plaintiffbeing sarcastic.

                 O n A ugust21St, 2008, when Plaintiffw as coming back from dropping

    off his daughter at school Plaintiff had O fficer Juan R odriguez in the opposite

    direction. Officer Juan Rodriguez is not assigned to M iam i Lakes K -8 Center

    and/or Police O ffice is not located anywhere surrounding the school before

    m entioned.

             24.Therearetwo (2)Oftk ersassigned to theschool,OfficerKenny Torres
    and OfticerCarlosOrtiz,who impartially do theirjob to thebestthey can. They


                                                                                  10
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 11 of 27




    representthehard work ofthePoliceOfficersthatday by day do theirjob without
    being bias.

          25. On Septem ber 2008,Plaintiff'sform er Attorney,Joseph Glick,senta

    letter to the M inm i D ade Police D epartm ent regarding all the issues w ith som e

    Police O fficers in M iam i Lakes, especially w ith O fficer Juan Rodriguez  .    No

    response w asreceived from the M iam iD ade Police D epartm ent.

          26. On October 2008, Plaintiff along with his w ife went w ith form er

    A ttorney Joseph Glick to a m eeting w ith C om m ander Frank Bocanegra. ln this

    meeting were also presentSgt.Eduardo Ruesga,and Captain J.M ongi Plaintiff's
                                                                           .




    attorney requested them to speak w ith Om cerJuan Rodriguez in orderto stop the

    harassm ent that Plaintiff and his fam ily w ere victim s of On N ovem ber 2008

    Plaintifffiled a complaintwith theComm ission on Ethics and nothing happen    .




                On February 26,2009, Plaintiff and his w îfe went to pick up their

    daughteratschool.AsPlaintiffw asapproaching the schoolhenoticed thatO fficer

    Juan Rodriguez w as there. His patrol car was parked in a private residential

    drivew ay w hile he w as standing outside O fficer Torres's patrolcar speaking w ith

    him . Plaintiff gotoffthe carand took picturesofO fticerJuan Rodriguez and this

    seem ed to have bothered him and he w ent to his car back up and drove fastto

    w here the Plaintiff s carw as.


                                                                                      11
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 12 of 27




          28. Plaintiff w as asked by Officer Juan Rodriguez to m ove his car and

    Plaintiff m ove his car forw ard. O fficer Juan R odriguez w rote a citation for being

    parked in the no parking space,w here there w ere 2 other cars also parked, w ithout

    the drivers,and OfficerJuan Rodriguezwrotethe citation only forthePlaintiff      .




          29. W lzen O fficer Juan Rodriguez w as w riting the citation he stated to

    Plaintiff that itthe com plaints he Gled w ith the Com m ission on Ethics w as not

    going to do anything to him '',and when Plaintiffs w ife stated to him that Gçhe

    should not be w earing a badge''and that tthe m akes look the rest of the officers

    bad''Oftk erJuan Rodriguez stated ûtifyou w antlwould rem ove my gun''.O fficer

    Juan Rodriguez stated there arguing Gnishing writing the citation and stating that

    all those com plaints Plaintiff w ill not get anything and that Plaintiff w ill not be

    ableto prove anything.

          30. Plaintiff s wife called the M iam iLakesPolice Station and requested a

    Supervisorto w rite a com plaintagainstO fficer Juan. Sgt.Barasch cam e and w rote

    the com plaint.

          31. OfticerJuan Rodriguez stated to Plaintiffand hisw ife thatifthey asked

    to the Police D epartm ent to rem ove Om cer Juan Rodriguez from M iam i Lakes

    they w illbe doing him afavor.

          32. O n D ecem ber 2010,Plaintiff w as leaving the C ondom inium Com plex,

    and as he pulled into the m ain road, M IAM I LAK E S D R ., noticed that O Y cer
                                                                                         12
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 13 of 27




    Juan Rodriguez w as in back of him . Officer Juan Rodriguez proceeded to drive

    parallelto Plaintiffand started to m ake signsw ith hisw hile driving,harassing and

    intim idating Plaintiffand hisdaughter.

               Plaintiff's m inor daughter anived at schoolin fear ofw hy O fticer Juan

    R odriguez w as follow ing them , harassing them , m aking signs,fists, etc.w ith his

    handsand did notcare aboutthe m inorchild thatw asinside the car.

          34. Plaintiffstarted to take picturesof OfficerJuan Rodriguez and Oftk er

    R ol iguez seenaed to be upset because of the pictures and continued w ith the

    sarcasm ,harassm ent and intim idation. Plaintiff proceeded to m ake a com plaint

    with the M iam iD adelnternalAffairswhich ended up again asa contad report     .




          W H ER EFO RE,Plaintiffrespectfully requests thatthis Courtdeclare that

    the actions of the D efendant,as alleged herein were taken under color of law ,

    constitute an abuse ofhisauthority,and aw ard ABELLA a11available dam agesand

    relief,and allotherm onetary and equitablereliefavailable asthisH onorable Court

    deemsjust.




                                                                                       13
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 14 of 27




                                        CO UN T IV
        A BUSE O F POW ER.HA M SSM ENT.INTIM IDATIO N . STA LK IN G
                    A G A IN ST O FFIC ER B EN JA M IN R IV E R A

           35. Plaintiffreallegesparagraphs ltlzrough 9 above asiffully incom orated

     herein,furtheralleges:

           36 O n April3'd,2009,Plaintiff and his w ife w entto drop offtheir daughter
             .




     atschool. Because ofthe lack ofparking spacesPlaintiffpulled in the drivew ay of

     a friend ofhis who lives acrossthe school, and has authorized Plaintiffto the use

     ofherdrivew ay atany m om ent needed H iswife and daughtergotoffthe carand
                                           .




    w alked acrossto take hisdaughterinside the school Plaintiffhad driven outfrom
                                                       .




    the drivew ay and w enttow ard M iam iLakeway South and m ade a Leftto go East  .



          37. Plaintiff turned R ight on the Congregational Church and inside the

    church Plaintiffm ade a U-tunzto com eback to the schooland pick up hisw ife.




          38. ln hisway back he noticed OfficerBenjamin Riveraoutsidethe school
    standing up in the sidew alk nextto the school Hisw ife started to walk acrossthe
                                                 .




    street. Plaintiff snoticed thatOfficerRivera was scream ing to a group ofparents

    that w ere crossing the street and then when Plaintiff was approaching where

    Officer Riveraa Officer Rivera started scream ing tow ard him   .   Plaintiff had

    w indow sup and did nothearwhatOfficerRivera w assaying    .




                                                                                    14
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 15 of 27




           39. Plaintiff low ered the window and drove slowly trying to hear and

     understand whatOfficer Rivera was saying W hen Plaintiff cam e closer to him ,
                                                 .




     O fficerRiveratold Plaintiffto park thathe wasgoingto write a citation forhim   .




           40. Plaintiff pulled over the approached of the other entrance to the

     C ongregational Church, and O fficer R ivera w rote the citation for ççpaykjyjg

    Postedm rohibited''> 316.1945(1)(A)(l0). License Plate in the citation had a
    differentletterfrom the Plaintic splate .




           41. 10 m inutes after Plaintiff received the citation from O fficer Rivera,

    Plaintiff anived hom e and a few m inutes later Officer Rivera was outside the

    building where thePlaintiffresides .




           42. Plaintiff's w ife w ent outside to take a picture to docum ent the police

    presence outsidetheirapartment. OffcerRivera turned and noticed thatPlaintiff's

    wife had taken and picture and scream atherasto ifshe wanted hisbadge num ber

    and she ansyvered yes. Offcer Rivera gave her his badge num ber and then he

    scream ed if she wanted the lnternalAffairs phone num ber and she said no, she

    stated to OfficerRivera thatshe had thatnum beralready  .




          43. Plaintiffrequested a courtdate forthiscitation Courtdate wasforJune
                                                                .



    15th, 20()9.

          44. At the CourtHearing, Officer Rivera had num erous cases Som e of
                                                                            .




    them were found guilty and som e others tlze Hearing Officer Tanya J Brinkley
                                                                                .


                                                                                         ls
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 16 of 27




     said notguilty. W hen itw asPlaintifcsturn,Oftk erRivera starting getting outof

    controland the H earing O fficer said thatshe w as going to leave the case to the end

    of allthe H earings ofthathour .




          45. W hen it w as the PlaintifFs turn,Officer Rivera started by trying to

    change the Statute N o.,and then he said his version ofw hattook place the day of

    A pril 3rd, 2009. w hen it was Plaintiff's t'
                                                urn to speak,he objected to the lies
    OfficerRivera had stated and told the Hearing Officerwhathad happened thatday       .




    Also Plaintiffstated to the Hearing O fficer thathis wife, w ho w as outside,w as a

    w itness to this case. The H earing O fficer told O fticer Rivera to show respect for

    the courtand to treatM r.A bella w ith respecttoo M any tim es she had to tellhim
                                                      .




    to calm dow n because ofthe outbm sthe had.

          46. OfficerRivera stated to the Hearing O fficerin one ofhis outburststhat

    ûtGus''had Gled m any com plaints against som e Police Om cers and M iam iLakes

    and also stated that&tbecause ofhim is that1 am atthe school'' .




          47. The Hearing Officer stop Officer Rivera and told him thatifthis was

    som ething personal,and asked him notto callhim ltGus''7
                                                           'to callhim M r Abella,
                                                                               .




    and also the H earing O fficerstated to O m cerR ivera that if ûCM r Abella hasallthe
                                                                       .




    rightto fileany complaintsagainstsomepoliceofficersifthey havedonewronf'.
          48. Plaintiff'sw ife cam e inside and the H earing Ofticer asked questionsto

    her and also asked her to draw w here she w as drop offalong w ith her daughterand
                                                                                      16
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 17 of 27




    w here w as Officer Rivera standing and where was her husband positioned w hen

    she w entacross the streetto w aitfor herhusband.

           49. Plaintiffs w ife answ ered al1the questions and O fficer R ivera started an

    outbtlrst, and the Judge told him to calm down. The Hearing Officer told

    Plaintiff'sw ife to sitdow n.

           50. The H earing O fficer in view of a11 the inform ation that w as given by

     Officer Rivera,M r.A bella and his wife,told M T.Abella thatthe Judgm ent was

     ttnot guilty''7 and to that instant O fficer R ivera cam e out w ith another outburst

     scream ing and stating thathe wanted continuance and thathe w illbring witnesses,

     which itwasdenied by theHearing O fficer.

           51. The H earing O fficer told M r.A bella and his w ife that they can leave

     and pick up a copy oftheJudgm ent.

           52. OflicerBenjamin Rivera hasalso been partofthe Police Officersthat
     havebeen senttopark outsideourporch almoston adaily basis. From two (2)to
     (3)Police Officerswere sentto beparked outsidethePlaintiffsporch,backed up
     w ith theirm otorsnm ning tow ard oursliding door.

           53. OfficerR ivera w as ordered to be atschooland then to com e and parked

     outside Plaintic sapartm ent.




                                                                                        17
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 18 of 27




          54. Officer Rivera was alm ost on a daily basis outside the school and

    outsidethePlaintifFsapartm entwith thepum ose to oppress,intim idate,harassand

    stalk Plaintiffand hisfam ily.



          W H EREFO RE,Plaintiffrespectfully requestthatthisCourtdeclarethatthe

    actions of the Defendant, as alleged herein were taken under color of law,

    constitute an abuse ofhis authority and a violation ofPlaintiffs civilrights under

    42 U .S.C . 1983, and award A BELLA all available dam ages and relief, and a11

    othermonetary and equitablereliefavailableasthisHonorableCourtdeemsjust.


                                       CO UNT V

            V IO LA TION O F C IVIL RIG H TS W H ILE A CTIN G UND ER
                      TH E CO LO R O F LAW 42 U.S.C.1 1983
                 AG A INST DEFEN DANT O FFICER RICHA RD BAEZ
           55.Plaintiffreallegesparagraphs 1through 9 above asiffully incom orated

     herein,furtheralleges'
                          .

           56.    On Septem ber 19,2009,Plaintiffs wife and his daughter were at

     hom e. Plaintiff's daughterw as doing hom ew ork in the living room and noticed

     that outside their porch a police car was backing up and thata few m inutes later

     anotherpolice carback up.


                                                                                    18
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 19 of 27




            57. Plaintiff'sdaughtercalled her mom ,who was in the bedroom ,and told

     her aboutthe police officers outside. PlaintifFsw ife proceeded to gether cam era

     to take picturesofthe police officers,who seem to be diFerentfrom the onesthat

     have been used to be outside theirporch. One police officer had already gotoffhis

     CaT.

            58. W hen the other police officer got off his patrol car,Plaintiff's wife

     proceeded to take pictures of him . The police officer then trespassed PlaintiY s

     property and cam e inside the porch to ask questions regarding the pictures that

     PlaintifFswife had taken.

            59. PlaintiY sw ife and daughterwere in fear,nervousofthepresenceofthe

     policeofficernotjustoutsidetheirporch butoutsidetheirsliding door. Plaintiff's
     daughter asked her m om why the police w ould send a couple of officers on a

     Saturday. And why wasthatO fficerin theirproperty.

            60. O ffcer BA EZ at no m om ent requested perm ission to w alk inside

     Plaintiff'sproperty. Ox cerBAEZ had no business inside the Plaintiffsproperty.

     OfficerBaez was notauthorized by Plaintiffsand/orhis wife to com e inside their

     property.

            61. OfficerBAEZ had notrightasking Plaintic swife aboutthe picture she

     took from herliving room to the carsand police officers thatwere parked outside

     their porch.
                                                                                    19
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 20 of 27




           62. PlaintifF s w ife,shaking,nervous and in fear thateven the cam era w as

    going to be taken aw ay,show ed O fficer BA EZ that the battery had not sufficient

    battery and wasnotable to take the picture.

           63. The Police Departm entin M iam iLakes are aw are thatPlaintiffhas 2

     surveillance cam erasoutside in his porch pointing toward the parking lot,and that

     any activity outside is being captured by the cam eras. A lso, Plaintiff has

     volunteered copy ofvideos w hen a residenthad been attacked outside by a thief,

     also w hen a car has been stolen, and also w hen the tires of a car had been stolen

     and everything has been captured on the cam eras.

           64. PlaintifFsw ife called his supervisorand filed a com plaintagainsthim .

     W hen the supenisor listened to whattook place she called an officerto com e to

     w rite the report. The O fficer that cam e w as the one thatcam e earlier w ith O fficer

     BAEZ. The O fficerdid notreceive the inform ation from PlaintiY s wife butgom

     the supervisor. The statem entin there is notaccurate to whattook place earlier

     thatday.

           65. On September21,2009,when Plaintiffw entto drop offhisdaughter,as

     soon as they w ere approaching the school,Plaintiff's daughter noticed that there

     w as an additional police officer outside the school and that he w as the sam e that

     had beenjust2 daysago trespassingtheirproperty.PlaintifFswifeconfirmed her
     daughter'sstatem entand PlaintiF took hiscam era outand took apicture ofhim .
                                                                                          20
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 21 of 27




           66. A fter dropping off Plaintiff s wife and daughter and keep driving,

    because of the lack of parking spaces, yvhen Plaintiff cam e back to pick up his

    wife, when Plaintiff was going to take another picture OfficerBAEZ cam e and

    pushed Plaintiff's cam era toward PlaintiY s face and kept pushing inside the

    W 1'ndow .

           67. D efendant O fficer B aez unlaw fully and w ithout probable cause w alk

    toward PlaintiY s car in order to stop him from taking pictures of him w hile

    Plaintiff was engaged in the lawful exercise of his rights under the First

     Am endm ent.

           68. DefendantO fficer Baez,while acting in his capacity as police officer

     and under color of law , did willfully, intentionally,and m aliciously obstructed

     Plaintiff for the very purpose of depriving PlaintiY s right to take picttlres in a

     publicplace.

           69. DefendantOfficer Baez retaliated againstPlaintiff by displaying anger

     and annoyance toward PlaintiF w hen Defendant Officer Baez came toward

     Plaintiff stopping him from taking pictures. D efendant Officer Baez acted in

     retaliation because of the com plaint that w as filed against him a couple of days

     before. D efendantOfficer Baez retaliated against Plaintiff when he blocked the

     rightthatPlaintiffhad oftaking picturesin a public place.


                                                                                     21
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 22 of 27




          70. Defendant Officer Baez's Answ ers to lnteaogatories did notdeny his

    actions nor denied know ing the fact thatthe m an taking the pictures w as Plaintiff

    A bella. D efendantO fficerB aez knew before hand w ho PlaintiffA bella w as.

                 Plaintiff Abella had never seen before DefendantOfficer Baez and he

    justgotto know him when Plaintiff'sdaughterand wifetold Plaintiffthatthiswas
    the sam e policeofficerthatstopped Plaintiffswife from taking picturesofhim .

           72. DefendantOfficerBaez had know ledge before hand as to who Plaintiff

    A bella w as and acted in violation of Plaintiff s C ivil R ights retaliating against

     Plaintiff by com ing now to Plaintiff's m inor daughter's schoolw here he is not

     assigned.

           73. M iam i Lakes K -8 Center has 2 assigned police officers and also later

     on,DefendantOfficerBenjamin Rivera stated in aCourtproceeding thatûûbecause
     ofGusisthatheisatthisschool''.(Seeld.! 46).
           74 D efendant Officer Baez was on Septem ber 21St, 2009 atthis school,
             .




     M iam i Lakes K-8 Center, knowing that Plaintiff w as going to drop off his

     daughter. The purpose of his presence at this school represents retaliation,

     harassm ent, stalking w ith the pum ose to cause pain, em barrassm ent, m ental

     anguish and the rem inder that Plaintiff was being watch and the police can do

     w hatever they w ant. D efendant O fficer Baez knew that a com plaint w as filed

     against him and that did not stop him from continuing harassing and violating
                                                                                      22
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 23 of 27




    PlaintiY s rights to take pictures in a public place to docum ent that D efendant

    O fficerB aez w asnow harassing athis daughter's school.

          75. The attitude, behavior and annoyance that Defendant O fficer Baez

    displayed on Septem ber 19th, 2009 at Plaintiff s dom icile w as once again

    dem onstrated 2 days later on Septem ber 2IX, 2009 aggressively w hen D efendant

    Officer Baez displayed his anger,frustration and annoyance acting in retaliation

    for the com plaint filed against him a couple of days before, w alking toward

    plaintiff stopping him from taking pictures.

          76. DefendantOfficerBaez did notcause any harm to Plaintiff's face but

    prevented Plaintiffto exercise hisrightoftaking pictm es. Plaintiffstopped taking

    pictures because he w as concerned w hatotherretaliating actions D efendantO fficer

    Baez w asgoing to do to preventPlaintiffto takepictm esofhim .



          W H ER E FO R E,Plaintiffresped fully requestthatthis Courtdeclare thatthe

    actions of the D efendant, as alleged herein w ere taken under color of law ,

    constitute an abuse of his authority,and a violation of Plaintiff's civilrights under

    42 U .S.C. 1983,and aw ard ABELLA allavailable dam ages and relief, and all

    othermonetary andequitablereliefavailableasthisHonorableCourtdeemsjust.



                                                                                      23
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 24 of 27




                                       C OUN T V I

      A BU SE O F PO W ER .H A M SSM EN T.IN TIM ID A TIO N .TR E SPA SSIN G
             A G AIN ST D EFENDANT M AJO R FR AN K BO CAN EG M

          76. Plaintiffreallegesparagraphs l through 9 above asiffully incop orated

    herein,further alleges'
                          .

          77. D efendnntBO C AN EGR A did nottake any effective action w hen Tow n

    M anager,A lex R ey,senthim an em ailon April 16,2007 asking BO C AN EGR A to

    ûtplease handle through the appropriate police procedures. Send m e a reportw ith

    the conclusions''

          78. Plaintiff's w ife requested thru public records on January 8,2008,a copy

    of the report and conclusions that Tow n M anager request to BO CA N EGR A and

    PlaintifFsw ife received an em ailstating thattt-
                                                    l-here isno record responsiveto this

    request'' Copy attached asExhibittûD''

          79. Plaintifftried thru diFerentapproaches to puta stop to the intim idation,

    harassm ent, abuse of pow er, violation of civil rights, stalking that O fficer Juan

    Rodriguez was doing to Plaintiff and his family. (See COUNTS 11 and 111).
    Plaintiff had already sent an em ail,a letter,had m eetw ith B O CA N EGR A and by

    taking no action BO CANEGRA failed to properly disciplinethe m isconductofone

    ofthe officers that are under his supervision forthe good ofthe residents ofthe

    Tow n ofM iam iLakes.

                                                                                     24
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 25 of 27




          80. For 3 days was BOCAN EGRA asking Plaintiffto com e by his office

    and Plaintiff sent an em ail stating to him thatas per his A ttorney's advice he w as

    declining to go and m eetw ith him .

          81. Then Plaintiff'shad a m essage in his cellphone to callSgt.Ruesgato

    the M iam iLakes Police. W hen Plaintiff called Sgt.Ruesga stated to Plaintiff that

    C aptain A longi, B O CA N EG R A and him had review the Parking C itation and

    decided to rip offthe citation.

          82. Copies of pictures ofthe police presence outside Plaintiff'sporch and in

    the way to drop off and pick up Plaintiffs daughterto schoolare available upon

    requestifnecessary.



          W IIEREFORE,Plaintiffrespectfully requestthatthis Courtdeclare thatthe

    actions of the Defendant, as alleged herein were taken under color of law ,

    constitute an abuse of his authority and a violation of Plaintiff s civilrights under

    42 U .S.C. 1983,and award ABELLA a1l available dam ages and relief,and a11

    othermonetary and equitablereliefavailableasthisHonorableCourtdeemsjust.




                                                                                      25
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 26 of 27




                            D EM A N D FO R JU R Y TR IA L



          PLM NTIFF hereby demand ajurytrialastoal1issuestriablebyajury.
          W HE R EFO RE,PLA IN TIFF respectfully requeststhis Courtto aw ard:

    A . R easonable and appropriate com pensatory dam ages.

    B . Punitive dam ages againstal1D efendants.

     C .Such otherand furtherreliefas this Courtdeem s necessary and proper.



                                   Respectfully Subm itted,




                                       U STA V O A BELLA



    N ovem ber 9th,2012


    7400 M lm     LA K ES D R .,
    A PT.D -l08
    M 1.AM 1LA K ES,FL 33014
    CELL:305-305-6622
    Keeoingmlml@vahoo.com



                                                                                26
Case 1:11-cv-20152-CMA Document 118 Entered on FLSD Docket 11/09/2012 Page 27 of 27




                                          CERTW ICATE OF SERV ICE
                                    C ase N o.1l-zolsz-cv-A ltonaga/sim onton
                             U nited States DistrictCourt,Southern D istrictofFlorida


    IHEREBY CER TIFY thata true and corred copy ofthe foregoing w asserved by m ailon
    November9th, 2012, on thefollowing counsel:

    D ennis Kerbel
    E-M ail:dkerbelçfrlzlialnidadevyyoN'
    Brenda KuhnsN eum an
    E-M ai1:Bllktiilm iam idade.ooy
    A ssistantCounty Attorneys
    M iam iD ade County Attorney's Om ce
    111N W .1ST street,Suite 2810
          .

    M iam iFlorida 33128
    PH : 305-375-5151


    Jeffkey L.Hochman,Esq.
    E-m all:llochnnalzt
                      '/è
                        'r'
                       '..lanxbyz.coln
    M arcosM artinez,Esq.
    E-mail:h-l-
              artinezl
                     f
                     iilial
                          t
                          nbr
                            n
                            sy.com
    2455 E Sunrise Boulevard,Suite 1000
    FortLauderdale,Florida 33304
    Ph:954-463-011l
